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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                               Eastern Division

Randy R. Liebich
                                         Plaintiff,
v.                                                      Case No.: 1:11−cv−05624
                                                        Honorable Robert W. Gettleman
Wexford Health Sources, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, July 25, 2016:


        MINUTE entry before the Honorable Mary M. Rowland: Defendants' motion for
additional time to set a settlement conference is granted. Defendants must set a settlement
conference with Judge Rowland's chambers by 7/29/16. Defense counsel to confer with
Plaintiff as to a day that works best for both parties and contact chambers. Mailed notice.
(dm, )




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